Opinion issued August 15, 2024




                                     In The

                              Court of Appeals
                                    For The

                         First District of Texas
                            ————————————
                              NO. 01-23-00221-CV
                           ———————————
                      JONATHAN JOHNSON, Appellant
                                       V.
                  CAPSTONE LOGISTICS, LLC, Appellee


                   On Appeal from the 125th District Court
                            Harris County, Texas
                      Trial Court Case No. 2019-79901


                         MEMORANDUM OPINION

      In this employment discrimination case, appellant Jonathan Johnson appeals

from the trial court’s grant of appellee Capstone Logistics, LLC’s (Capstone)

traditional and no-evidence motions for summary judgment. In three issues, Johnson
challenges the trial court’s grant of summary judgment as to his disability

discrimination, harassment,1 and retaliation claims. We affirm.

                                     Background

      Johnson began working for Capstone in January 2018 as a shift supervisor.

Johnson contends that while working on May 15, 2018, he began experiencing

severe dizziness and a headache. He proceeded to the emergency room, where the

physician advised him that his blood pressure was extremely high and that he was at

risk for a stroke. After medication and monitoring, the physician released Johnson

with instructions to follow up with his primary care physician. He advised Johnson

not to return to work until his primary doctor made an assessment.

      That same day, Johnson advised his supervisor, Jeff Javorsky, of the

physician’s instructions and requested time off. Johnson’s primary care physician

referred him to a cardiologist, who he saw a few days later. Ultimately, Johnson’s

cardiologist released him to return to work on May 24, 2018.

      According to Johnson, when he returned to work, his coworkers advised him

that during a pre-shift meeting, a shift supervisor, Brian Polone, stated that “he



1
      In the “Issues Presented” section of his principal brief, Johnson characterizes his
      second issue as challenging the trial court’s grant of summary judgment as to his
      age discrimination claim. However, the subsequent discussion concerns Johnson’s
      disability-based harassment claim, and the phrase “age discrimination” does not
      appear again in his briefing. Therefore, we construe Johnson’s second issue as
      challenging the trial court’s determination regarding the disability-based harassment
      claim.
                                            2
planned to do whatever he had to do to make Mr. Johnson’s blood pressure go up so

high that he’d leave and not return.” Johnson contends he reported this to Javorsky,

who did nothing.

      When Johnson continued to experience dizziness and headaches, he returned

to his primary doctor on June 7, 2018, who kept Johnson off work until he could see

his cardiologist on June 11, 2018. Johnson alleges that after providing his June 7,

2018 doctor’s note to Javorsky, Javorsky “told Mr. Johnson that he needed to figure

out how his shifts were going to be covered,” that he “was tired of dealing with his

issues,” and “abruptly hung up on Mr. Johnson.”

      Johnson returned to work on June 11, 2018. He claims that on June 13, 2018,

he reported dizziness and headache to Javorsky “following a heated verbal

confrontation with Mr. Johnson’s subordinate employee and shift lead, Kenneth

Malveaux.” According to Johnson, Malveaux began “yelling,” “cursing,” and

“shouting” at him when he needed to leave a loud work area to speak with a client.

However, Johnson completed his shift that day.

      On June 14, 2018, Johnson experienced “extremely high” blood pressure and

continued to experience severe dizziness and headache. He reported these concerns

to Javorsky and requested off work. The following day, Johnson notified Javorsky

that he was feeling better and would report to work that day. According to Johnson,

in response, Javorsky “told Mr. Johnson to stay home and that he was being


                                         3
suspended for his medical absences.” Javorsky advised Johnson to call in to the

office the following Monday.

      Johnson contends that he made complaints to Capstone’s human resources

department concerning Javorsky’s comments on June 15, 2018. Specifically,

Johnson alleges that he reported Javorsky’s “adverse comments and actions

regarding his medical condition, disability, and age” as well as “Javorsky’s

complaints about [Johnson’s] request to accommodate his medical condition and his

suspension for absences related to his medical condition.” Johnson also reported the

shift supervisor’s comments about his intent to increase Johnson’s blood pressure,

his report of that comment to Javorsky, and Javorsky’s inaction. Johnson outlined

these complaints in an e-mail titled “Statement” that he sent to human resources on

June 15, 2018.

      On June 18, 2018, Johnson called Javorsky as instructed. According to

Johnson, Javorsky advised Johnson that he had been terminated for missing too

much work. Immediately thereafter, Johnson contacted human resources and spoke

with Patricia Boyd, who confirmed Johnson was terminated for excessive actions.

Johnson pointed out that his absences were due to his medical condition, which he

had previously reported to his supervisor and human resources. Johnson also noted

his prior complaints of “harassment, discrimination, and retaliation” from Javorsky,

which he contended were the result of his request for accommodation for his medical


                                         4
condition. At that time, Johnson requested a transfer to another facility, but Boyd

advised that she needed to investigate such an option.

      Johnson claims that Boyd compared attendance and medical records

submitted by Javorsky with Johnson’s records. She reinstated his employment and

requested that he provide further documentation from his medical provider. After

doing so, Johnson applied for and received four weeks of leave pursuant to the

Family and Medical Leave Act (FMLA).

      When Johnson returned to work on July 19, 2018, he followed up with Boyd

regarding a possible transfer. Boyd instructed him to ask Javorsky, who denied the

request.

      Johnson alleges that upon his return to work, Javorsky began excluding him

from pre-shift meetings, which Johnson previously conducted as part of his duties

as Shift Supervisor. Javorsky purportedly told Johnson not to attend these meetings

and then directed Malveaux, Johnson’s subordinate, to conduct the meetings.

      Johnson contends that he used bereavement leave, per company policy, from

August 1, 2018 to August 3, 2018 following the death of his mother. On August 22,

2018, Johnson left work early for a family emergency. On August 23, 2018, Javorsky

advised Johnson he was fired.

      Johnson filed a complaint with the Equal Employment Opportunity

Commission (EEOC), and the EEOC issued a right-to-sue letter on September 4,


                                         5
2019.2 Johnson filed the instant suit against Capstone on November 1, 2019,

asserting claims for harassment, discrimination, and retaliation based on age and

disability pursuant to the Texas Commission on Human Rights Act (TCHRA). See

TEX. LAB. CODE §§ 21.051, 21.055, 21.056. Johnson further contended that

Capstone harassed, discriminated, and retaliated against him for exercising his rights

under the FMLA.3

      Capstone filed an answer to Johnson’s suit on December 6, 2019, asserting a

general denial and raising various affirmative defenses. Capstone then filed a

combined traditional and no-evidence summary judgment motion on December 22,

2021 as to all of Johnson’s remaining causes of action. The trial court granted

Capstone’s motion on December 27, 2022, and this appeal followed.

                                Standard of Review

      We review de novo the trial court’s ruling on a summary judgment motion.

Mann Frankfort Stein &amp; Lipp Advisors, Inc. v. Fielding, 289 S.W.3d 844, 848 (Tex.

2009) (citing Provident Life &amp; Accident Ins. Co. v. Knott, 128 S.W.3d 211, 215 (Tex.

2003)). When a party moves for both traditional and no-evidence summary

judgment, we first review the trial court’s ruling under the no-evidence standard of


2
      The record does not contain a copy of Johnson’s EEOC complaint.
3
      The record reflects that Capstone removed the case to federal court, but after the
      federal district court granted summary judgment in Capstone’s favor on the FMLA-
      related claims, the case was remanded to state court for consideration of the
      remaining state law claims.
                                           6
review. See Ford Motor Co. v. Ridgway, 135 S.W.3d 598, 600 (Tex. 2004). If the

trial court properly granted the no-evidence motion, we do not consider the

arguments raised regarding the traditional summary judgment motion. See id.
      After an adequate time for discovery, a party may move for no-evidence

summary judgment on the ground that no evidence exists of one or more essential

elements of a claim on which the adverse party bears the burden of proof at trial.

TEX. R. CIV. P. 166a(i); see Flameout Design &amp; Fabrication, Inc. v. Pennzoil

Caspian Corp., 994 S.W.2d 830, 834 (Tex. App.—Houston [1st Dist.] 1999, no

pet.). The burden then shifts to the nonmovant to produce evidence raising a genuine

issue of material fact on the elements specified in the motion. TEX. R. CIV. P. 166a(i);

Mack Trucks, Inc. v. Tamez, 206 S.W.3d 572, 582 (Tex. 2006). The trial court must

grant the motion unless the nonmovant presents more than a scintilla of evidence

raising a fact issue on the challenged elements. Flameout Design &amp; Fabrication, 994

S.W.2d at 834; see also Goodyear Tire &amp; Rubber Co. v. Mayes, 236 S.W.3d 754,

755 (Tex. 2007) (per curiam) (“An appellate court reviewing a summary judgment

must consider whether reasonable and fair-minded jurors could differ in their

conclusions in light of all of the evidence presented.”). To determine if the

nonmovant has raised a fact issue, we review the evidence in the light most favorable

to the nonmovant, crediting favorable evidence if reasonable jurors could do so, and

disregarding contrary evidence unless reasonable jurors could not. See Fielding, 289


                                           7
S.W.3d at 848 (citing City of Keller v. Wilson, 168 S.W.3d 802, 827 (Tex. 2005)).

We indulge every reasonable inference and resolve any doubts in the nonmovant’s

favor. Sw. Elec. Power Co. v. Grant, 73 S.W.3d 211, 215 (Tex. 2002) (citing Sci.

Spectrum, Inc. v. Martinez, 941 S.W.2d 910, 911 (Tex. 1997)).

      To prevail on a traditional summary judgment motion, the movant must

establish that no genuine issues of material fact exist and that it is entitled to

judgment as a matter of law. TEX. R. CIV. P. 166a(c); Little v. Tex. Dep’t of Crim.

Just., 148 S.W.3d 374, 381 (Tex. 2004). When, as here, the trial court’s summary

judgment does not state the basis for the court’s decision, we must uphold the

judgment if any of the theories advanced in the motion are meritorious. Knott, 128

S.W.3d at 216.

                             Disability Discrimination

A.    Applicable Law

      To establish a prima facie case of disability discrimination under the TCHRA,

Johnson needed to show that he: (1) has a disability, (2) is qualified for the job, and

(3) suffered an adverse employment decision because of his disability. Donaldson v.

Tex. Dep’t of Aging &amp; Disability Servs., 495 S.W.3d 421, 436–37 (Tex. App.—

Houston [1st Dist.] 2016, pet. denied) (citing Davis v. City of Grapevine, 188 S.W.3d

748, 757 (Tex. App.—Fort Worth 2006, pet. denied)). Capstone argues that the trial

court properly granted its motion for summary judgment because Johnson is not


                                          8
disabled, but even if he was, he failed to demonstrate he was fired solely because of

his disability.

       The TCHRA defines “disability” as “a mental or physical impairment that

substantially limits at least one major life activity of that individual, a record of such

an impairment, or being regarded as having such an impairment.” TEX. LAB. CODE

§ 21.002(6). The TCHRA does not define “major life activity” but provides

numerous examples, including but not limited to:

       caring for oneself, performing manual tasks, seeing, hearing, eating,
       sleeping, walking, standing, lifting, bending, speaking, breathing,
       learning, reading, concentrating, thinking, communicating, and
       working. The term also includes the operation of a major bodily
       function, including, but not limited to, functions of the immune system,
       normal cell growth, and digestive, bowel, bladder, neurological, brain,
       respiratory, circulatory, endocrine, and reproductive functions.

Id. § 21.002(11-a). An impairment “substantially limits” a person’s major life

activity when he is:

       [u]nable to perform a major life activity that the average person in the
       general population can perform; or [s]ignificantly restricted as to the
       condition, manner or duration under which an individual can perform a
       particular major life activity as compared to the condition, manner, or
       duration under which the average person in the general population can
       perform that same major life activity.

Datar v. Nat’l Oilwell Varco, L.P., 518 S.W.3d 467, 474 (Tex. App.—Houston [1st

Dist.] 2017, pet. denied) (quoting Tex. Dep’t of Fam. &amp; Protective Servs. v. Howard,

429 S.W.3d 782, 787 (Tex. App.—Dallas 2014, pet. denied)). “To survive summary

judgment, a plaintiff must produce evidence demonstrating that his impairment is
                                            9
profound enough and of sufficient duration, given the nature of his impairment, to

significantly restrict him in working.” Id. (citations omitted).

B.    Analysis

      Here, Johnson identifies his disability as high blood pressure and contends

that if uncontrolled, it impacts the major life activities of working, circulatory system

function, and interacting with others. Johnson did not provide sufficient evidence to

raise a fact question that his high blood pressure substantially limited a major life

activity or otherwise impaired him in performing work-related functions.

      As to his allegation that his hypertension substantially limited the major life

activities of “interacting with others” or “circulatory system function,” Johnson

points to no specific evidence, nor does he explain how his hypertension impacted

those activities. Because Capstone has argued that Johnson has no evidence to

support a disability discrimination claim (specifically, the disability element of his

prima facie case), Johnson bore the burden to come forth with specific evidence to

support his claim. See Donaldson, 495 S.W.3d at 432 (citing TEX. R. CIV. P. 166a(i);

Tamez, 206 S.W.3d at 582). Such a burden is not satisfied by conclusory allegations

or unfounded assertions. Draughon v. Johnson, 631 S.W.3d 81, 88 (Tex. 2021); see

also Greathouse v. Alvin Indep. Sch. Dist., 17 S.W.3d 419, 425 (Tex. App.—

Houston [1st Dist.] 2000, no pet.) (holding, in racial discrimination case, that

summary judgment for defendant is proper when plaintiff presents only conclusory


                                           10
allegations, improbable inferences, unsupportable speculation, or subjective beliefs

and feelings); Espinoza v. Brennan, No. EP-14-CV-290-DB, 2016 WL 7176663, at

*7 (W.D. Tex. Dec. 7, 2016) (determining that plaintiff’s allegations that his

disorders “caused . . . difficulty in his interpersonal relationships, [and] also affected

his work relationships” was insufficient to meet low threshold of proof that

impairment affects major life activity).

      The summary judgment evidence—including Johnson’s own deposition

testimony—establishes that Johnson was diagnosed with high blood pressure in

2010 but did not seek medical treatment or require medication for his condition for

much of that time. Regarding his ability to work, Johnson testified that his high blood

pressure symptoms (dizziness, headaches) never interfered with his work for any

employers prior to Capstone. He further admitted that at the time Capstone hired

him, he did not have a disability that would preclude him from performing the

essential functions of his job. Johnson’s testimony indicates that he only experienced

four blood-pressure related incidents from 2013 to 2018. Ultimately, Johnson’s

symptoms became sufficiently controlled by medication, and his physician certified

him to return to work full duty, without restrictions, in July 2018. Following his

termination from Capstone, Johnson worked other similar warehouse supervisor

jobs, and he testified that he was able to perform the duties of those positions without

limitations so long as he took his blood pressure medication.


                                           11
      To demonstrate that an alleged disability substantially limits the major life

activity of working, an individual must show that he is “unable to perform the variety

of tasks central to most people’s daily lives” or that “his impairment ‘severely

limit[s] him in performing work-related functions in general.’” City of Hous. v.

Proler, 437 S.W.3d 529, 533 (Tex. 2014) (quoting Toyota Motor Mfg., Ky., Inc. v.

Williams, 534 U.S. 184, 200 (2002); Chevron Corp. v. Redmon, 745 S.W.2d 314,

318 (Tex. 1987)). The Texas Supreme Court has confirmed that “[t]he inability to

perform a single, particular job does not constitute a substantial limitation in the

major life activity of working.” Id. at 534; see also Williams, 534 U.S. at 200
(“[E]ven assuming that working is a major life activity, a claimant would be required

to show an inability to work in a ‘broad range of jobs,’ rather than a specific job.”)

(citation omitted). Johnson has failed to make such a showing; thus, the trial court

correctly granted summary judgment in favor of Capstone as to Johnson’s disability

discrimination claim. See Fenley v. Tex. Plumbing Supply Co., No. 14-19-00851-

CV, 2021 WL 1881273, at *7 (Tex. App.—Houston [14th Dist.] May 11, 2021, no

pet.) (mem. op.) (holding that claimant’s broken finger did not cause long-term

impairment with respect to performance of job duties; claimant did not submit any

evidence demonstrating that broken finger caused any limitations after date of full

duty release from physician; claimant thus failed to meet burden to demonstrate

broken finger constituted permanent or long-term impairment that substantially


                                         12
limited performance of major life activity) (citing TEX. LAB. CODE § 21.002(6); El

Paso Cnty. v. Vasquez, 508 S.W.3d 626, 639 (Tex. App.—El Paso 2016, pet.

denied)).

      We overrule Johnson’s first issue.

                           Disability-Based Harassment

      In his second issue, Johnson argues that the trial court erred in granting

summary judgment as to his disability-based harassment claim. Capstone responds

that Johnson failed to present evidence that the complained-of conduct was

sufficiently severe or pervasive to affect a term, condition, or privilege of

employment.

      To succeed on a claim for disability-based harassment, otherwise referred to

as hostile work environment claim,4 Johnson needed to demonstrate that (1) he

belongs to a protected group; (2) he was subjected to unwelcome harassment; (3) the

complained-of harassment was based on his disability; (4) the harassment at issue

affected a term, condition, or privilege of employment; and (5) the employer knew

or should have known about the harassment and failed to take prompt remedial




4
      These terms are often used interchangeably. See Equal Emp. Opportunity Comm’n
      v. U.S. Drug Mart, Inc., No. 23-50075, 2024 WL 64766, at *1 n.1 (5th Cir. Jan. 5,
      2024) (per curiam) (not designated for publication); see also LeBlanc v. Lamar State
      Coll., 232 S.W.3d 294, 303 &amp; n.7 (Tex. App.—Beaumont 2007, no pet.)
      (recognizing “disability-based harassment” claim under TCHRA).
                                           13
action. Gowesky v. Singing River Hosp. Sys., 321 F.3d 503, 509 (5th Cir. 2003);

LeBlanc, 232 S.W.3d at 303.

      As discussed above, we have already determined that Johnson does not have

a disability within the meaning of the TCHRA. Thus, he cannot satisfy the first

element of a disability-based harassment or hostile work environment claim—

membership in a protected group. See Gowesky, 321 F.3d at 509; LeBlanc, 232

S.W.3d at 303.

      We overrule Johnson’s second issue.

                                    Retaliation

      In his third issue, Johnson contends that the trial court erred in rendering

summary judgment in favor of Capstone as to his retaliation claim. Capstone

responds that the trial court properly granted summary judgment on the retaliation

claim because Johnson is not disabled, and thus he cannot establish the requisite

causal connection between his protected activity and the adverse employment action.

      1.     Applicable Law

      The TCHRA prohibits an employer from retaliating against its employee for

engaging in certain protected activities. TEX. LAB. CODE § 21.055. Examples of such

activities include: (1) opposing a discriminatory practice; (2) making or filing a

charge; (3) filing a complaint; or (4) testifying, assisting, or participating in any

manner in an investigation, proceeding or hearing. Id. In his response to Capstone’s


                                         14
summary judgment motion, Johnson points to the following protected activities: (1)

requesting time off to treat his disability, and (2) complaining about how he was

treated when he requested time off and when he returned.5

      To establish a prima facie claim of retaliation, a plaintiff must establish that:

(1) he participated in protected activity, (2) his employer took an adverse

employment action against him, and (3) a causal connection existed between his

protected activity and the adverse employment action. Chandler v. CSC Applied

Techs., LLC, 376 S.W.3d 802, 822 (Tex. App.—Houston [1st Dist.] 2012, pet.

denied); Donaldson, 495 S.W.3d at 441. If the employee establishes a prima facie

case, the burden then shifts to the employer to articulate a legitimate, non-

discriminatory purpose for the adverse employment action. Chandler, 376 S.W.3d

at 822–23; Hernandez v. Grey Wolf Drilling, L.P., 350 S.W.3d 281, 286 (Tex.

App.—San Antonio 2011, no pet.).

      2.    Analysis

      Concerning the protected activity requirement, the Texas Supreme Court has

held that the employee’s complaints must at least “alert the employer to the

employee’s reasonable belief that unlawful discrimination is at issue.” Alamo

Heights Indep. Sch. Dist. v. Clark, 544 S.W.3d 755, 786 (Tex. 2018). Though “magic


5
      Johnson’s lawsuit originally alleged that Capstone retaliated against him by
      terminating him following his request for reasonable accommodation, for taking
      medically necessary FMLA leave, and for reporting discrimination and harassment.
                                          15
words” are not required to invoke the TCHRA’s anti-retaliation provision,

complaining only of “harassment,” “hostile environment,” “discrimination,” or

“bullying” is insufficient. Id. at 786–87. There must be some indication of

discrimination on the basis of the protected class. See id. at 787 (concluding that

plaintiff’s description of coworker’s behavior as “inappropriate,” “offensive,”

“bullying,” “harassment,” “embarrassing,” “rude,” and “intimidating” did not alert

employer that plaintiff thought coworker’s behavior was based on gender or

otherwise amounted to sex-based discrimination). “A vague charge of discrimination

will not invoke protection under the statute.” Azubuike v. Fiesta Mart, Inc., 970

S.W.2d 60, 65 (Tex. App.—Houston [14th Dist.] 1998, no pet.), overruled in part

on other grounds by Glassman v. Goodfriend, 347 S.W.3d 772 (Tex. App.—

Houston [14th Dist.] 2011, pet. denied).

      First, as to Johnson’s allegation that his request for time off to treat his high

blood pressure is protected activity, even if such a request could constitute protected

activity under the TCHRA,6 nothing about his requests indicates a concern about



6
      Section 21.055 of the TCHRA identifies the following as protected activities: (1)
      opposing a discriminatory practice; (2) making or filing a charge; (3) filing a
      complaint; or (4) testifying, assisting, or participating in any manner in an
      investigation, proceeding, or hearing. TEX. LAB. CODE § 21.055. In Texas
      Department of Transportation v. Lara, the Texas Supreme Court rejected the
      lower’s courts determination that a request for accommodation could not constitute
      protected activity under section 21.055 as a matter of law but held that the request
      must nevertheless “have alerted TxDOT to Lara’s belief that disability
      discrimination was at issue.” 625 S.W.3d 46, 60 (Tex. 2021).
                                           16
disability-based harassment or discrimination. Johnson merely advised Javorsky of

his condition or symptoms and his inability to work as a result. For example, on June

14, 2018, Johnson sent a text message to Javorsky stating: “Jeff still not feeling good

on medicine[.] feeling worse[.] double[d] up on my pills and now can’t get out of

bed without help to go to the bathroom to throw up[.] room spinning[.] might have

to go in to ER if symptoms continue[.]” This type of request, standing alone, does

not give Capstone the requisite notice of possible disability discrimination or

harassment. See Tex. Dep’t of Transp. v. Lara, 625 S.W.3d 46, 60 (Tex. 2021)

(considering whether plaintiff’s request for disability accommodation constituted

protected activity and concluding that where evidence only showed plaintiff was

“constantly calling” his superiors, timely filed FMLA and sick-leave paperwork, and

discussed possibility of leave without pay in telephone conversation with superiors,

plaintiff failed to satisfy protected activity element).

      We next consider whether Johnson’s June 15, 2018 statement to HR provided

sufficient notice of discrimination to Capstone such that it constituted protected

activity. We conclude that it does not. Though Johnson’s statement describes the

blood pressure comment from Polone, the discussions with Javorsky, and the

incident with Malveaux, nothing about these complaints suggests that Johnson

intended to report discrimination or harassment based on his disability. As noted

above, even in documenting the most serious event—the confrontation with


                                           17
Malveaux—Johnson does not specify anything Malveaux allegedly said to Johnson,

only that Malveaux was “yelling,” “cursing,” and “shouting.” Again, complaining

of workplace conduct as “inappropriate,” “offensive,” “bullying,” “harassment,”

“embarrassing,” “rude,” or “intimidating” without more does not alert an employer

that the plaintiff seeks to report actionable discrimination. Alamo Heights, 544

S.W.3d at 786–87; see also Sykes v. Driftwood Hosp. Mgmt., LLC, No. 01-18-00552-

CV, 2019 WL 1246337, at *6 (Tex. App.—Houston [1st Dist.] Mar. 19, 2019, no

pet.) (mem. op.) (holding that plaintiff’s two complaints about harassing behavior

did not constitute protected activity where complaints did not alert employer to

concerns of race or age discrimination; plaintiff testified that coworker “never even

harassed him about his race or age” but harassed him by questioning his

qualifications and ability to perform job); Guajardo v. Univ. of Tex. Med. Branch at

Galveston, No. 01-17-00288-CV, 2018 WL 2049334, at *8–9 (Tex. App.—Houston

[1st Dist.] May 3, 2018, no pet.) (mem. op.) (holding that employee’s comments in

evaluation and internal grievance letter did not constitute protected activity where

complaints used words like “discriminated,” “retaliated,” and “singled out” but did

not identify alleged discriminatory conduct at issue).

      Because neither Johnson’s requests for leave nor his statement to HR contain

a sufficient description to alert Capstone to any disability-based harassment or

discrimination, we determine that he has failed to demonstrate a protected activity


                                         18
under the TCHRA. See Alamo Heights, 544 S.W.3d at 786–87; Sykes, 2019 WL

1246337, at *6. Johnson therefore cannot establish a prima facie case of retaliation.7

See Chandler, 376 S.W.3d at 822.

      We overrule his third issue.

                                     Conclusion

      We affirm the trial court’s grant of Capstone’s summary judgment.



                                                       Amparo Monique Guerra
                                                       Justice

Panel consists of Chief Justice Adams and Justices Guerra and Farris.




7
      Because we have concluded that Johnson failed to establish a prima facie case of
      either disability discrimination or retaliation, we do not reach his arguments
      concerning pretext. See Donaldson v. Tex. Dep’t of Aging &amp; Disability Servs., 495
      S.W.3d 421, 437 (Tex. App.—Houston [1st Dist.] 2016, pet. denied) (explaining
      burden-shifting analysis in disability discrimination claim); Brewer v. Coll. of the
      Mainland, 441 S.W.3d 723, 729–30 (Tex. App.—Houston [1st Dist.] 2014, no pet.)
      (explaining same for retaliation claims).
                                           19
